   3:23-cv-00046-SAL-SVH           Date Filed 01/05/23    Entry Number 1      Page 1 of 24




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

 Kesha L. Hayes                                     C/A No.: 3:23-cv-00046-SAL-SVH

                Plaintiff,

        v.                                                        COMPLAINT

 Sandhills Medical Foundation, Inc., Dr. Sharon
 Browning, Christopher Dixon, David Roberts,
 and Trey Boone (in their official and individual
 capacities), and the Board of Directors of
 Sandhills Medical Foundation, Inc.

                Defendant.

                                      INTRODUCTION
   Plaintiff Kesha L. Hayes, by and through her undersigned attorneys, hereby brings the Causes

of Action of Section 1981 Race Discrimination/Racially Hostile Work Environment, Section 1981

Retaliation, Breach of Contract, Breach of Contract Accompanied by a Fraudulent Act, and Civil

Conspiracy, and Invasion of Privacy against Defendants Trey Boone, Sharon Browning,

Christopher Dixon, David Roberts, Sandhills Medical Foundation, Inc., and the Board of Directors

of Sandhills Medical Foundation based on the following allegations.

                                JURISDICTION AND VENUE
   1. The Court has jurisdiction over this action pursuant to 28 U.S.C. Sections 1331 and 1343,

       and 42 U.S.C. Section 2000e (5), this being a proceeding to enforce rights and remedies

       secured under 42 U.S.C. Section 1981 and other Federal statutes. This Court also has

       pendant and supplementary jurisdiction over so much of this action as is based on state

       law.
3:23-cv-00046-SAL-SVH           Date Filed 01/05/23    Entry Number 1          Page 2 of 24




2. Venue is proper in the Columbia Division, because the causes of action arose therein, the

   acts and practices complained of occurred there, and it is where Defendant does business

   and may be found.

                                        PARTIES
3. Plaintiff Kesha L. Hayes is an African American woman and a citizen of the State of South

   Carolina. Plaintiff resides in Kershaw County, South Carolina within this judicial district.

4. Each of the individual Defendants are citizens of the State of South Carolina and resides

   within this judicial district.

5. Defendant Sandhills Medical Foundation, Inc. (“Defendant” or “Sandhills”) is a nonprofit

   corporation having agents, employees, offices, or properties in Kershaw County, South

   Carolina. At all times relevant to this Complaint, Defendant was acting by and through its

   agents, servants, employees and/or officers. Defendant is incorporated under the laws of

   the State of South Carolina, with its principal place of business in Camden, South Carolina.

                              STATEMENT OF FACTS
6. On or around June 2017, Plaintiff began working at Defendant SMF on a part-time basis in

   the Outreach Department after applying, interviewing, and accepting the position offered

   by the Chief Executive Officer, Defendant Christopher Dixon (Caucasian Male).

7. Plaintiff is a member of a protected class as an African-American female.

8. Defendant Sandhills Medical Foundation (hereinafter referred to as “SMF”) is a non-profit

   organization that provide medical resources, services, and comprehensive healthcare to

   underserved communities in rural areas of South Carolina.

9. Upon information and belief, Plaintiff was hired on account of her excellent work ethic and

   ongoing connection with the community Defendant SMF serves. At all times, Plaintiff

   performed her job to the best of her ability.



                                       Page 2 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1        Page 3 of 24




10. Upon information and belief, at the time of Plaintiff’s hiring, she was under the direction

   and supervision of the Community Development Director, Defendant David Roberts

   (Caucasian Male). Plaintiff’s hiring was questioned by several members of Defendant’s

   Board solely because Plaintiff was an African-American hired into the Outreach

   Department.

11. Upon information and belief, almost immediately after her hiring, Plaintiff began facing

   racially discriminatory opposition from Defendant Roberts who also did not agree with her

   hiring.

12. Plaintiff asserts that Defendant Roberts’ racially discriminatory and racially hostile

   behavior against Plaintiff included questioning Plaintiff’s skills and decision-making,

   rejecting Plaintiff’s ideas, and resisting cooperating with Plaintiff on assignments. Plaintiff

   asserts, and observed, that Defendant Roberts did not treat the Caucasian employees of

   Defendant SMF with the same apprehension and hostility as he did with Plaintiff.

   Defendant Roberts continued, in various forms, to racially impede Plaintiff’s career with

   Defendant SMF by intervening and obstructing Plaintiff’s work between 2017 up through

   the time of her termination solely based on racial purposes. Defendant Roberts’ acts of

   racial discrimination occurred even after Plaintiff leaves his supervision and occurred

   daily/monthly through 2018, 2019, 2020, 2021, and to July 2022.

13. Plaintiff notified Defendant Christopher Dixon (Caucasian Male), SMF’s Chief Executive

   Officer, of Defendant Roberts’ behavior, in which Defendant Dixon told Plaintiff to give

   things with Defendant Roberts more time. Plaintiff found this to be disconcerting and

   raised questions in Plaintiff’s mind about the level of support that Dixon truly should have

   provided her. Defendant Dixon failed to investigate Plaintiff’s complaints or resolve




                                       Page 3 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1       Page 4 of 24




   Plaintiff’s subjection to racially discriminatory acts which revealed to Plaintiff that

   although Dixon hired her, she realized early on that Dixon was not objective in addressing

   her concerns as an African-American employee against his fellow Caucasian Officer,

   Roberts (WM).

14. On or around August 2017, Defendant Dixon asked Plaintiff to help create the Human

   Resources Department after he discovered that Plaintiff has a Master’s of Arts in Human

   Resources and in recognition of Plaintiff’s work ethic, intelligence, and organizational

   skills.

15. As a result, Plaintiff became the Human Resources Director, leaving her Outreach position

   until late 2021. For several months, until her termination, Plaintiff maintained a dual role

   as Chief Talent Officer (Outreach) and Human Resources Director; both jobs were

   Executive positions under the direction of Defendant Dixon.

16. Upon the announcement of her permanent role as Human Resources Director, several

   members of the Board of Directors and Roberts questioned her hiring solely on the basis

   of her race. In fact, several Caucasian members of the Board spoke out verbally that the

   agency had hired a Black Human Resources Director.

17. Plaintiff maintained her work ethic and ability to balance both job titles to the best of her

   ability, receiving positive remarks and interactions with the employees of Defendant SMF.

18. Upon information and belief, upon taking the Human Resources Director position, Plaintiff

   noticed a pattern where agents of SMF, including Defendant Roberts and Defendant Dixon,

   treated the African-American Directors differently from the Caucasian Directors in terms

   of managerial respect and disciplinary matters.




                                        Page 4 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23      Entry Number 1       Page 5 of 24




19. Specifically, Plaintiff asserts, upon information and belief, that on or around May 2021

   Defendant Dixon promoted Defendant Roberts to Chief Operating Officer despite a more-

   qualified African-American internal applicant’s interest in the position. When Plaintiff, as

   HR Director who is an African-American female, questioned Defendant Dixon about the

   vast discrepancy of qualifications and expressed her thoughts on the matter regarding fair

   promotional practices based upon race, Plaintiff asserts that Dixon decided to make the

   COO role a dual role as a pretext to discriminate against the African-American female

   internal applicant. When Plaintiff questioned this, she was met with opposition from

   Defendants Roberts, Dixon, and members of the Board.

20. In opposition to the open discrimination, which the internal applicant received, the

   applicant, who was the permanent African-American employee offered the pretextual dual

   role, resigned shortly thereafter, on or around June 2021, due to the racially hostile

   environment at Defendant SMF.

21. Plaintiff further asserts, upon information and belief, that Defendant Dixon asked Plaintiff

   to assist in the termination of another African-American female executive, the Chief

   Medical Officer, on or around August 2021. Despite receiving a properly submitted

   resignation from that African-American Medical Officer, and against Plaintiff’s advice,

   Defendant Dixon orchestrated efforts to rush that African-American Officer to leave sooner

   than agreed to, shortly thereafter hired Defendant Sharon Browning (Caucasian Female) in

   the position before the resignation of the previous African-American Officer, and

   subsequently fired the African-American Chief Medical Officer before the terms of her

   resignation. This hiring of Roberts and Browning shows a pattern and practice of excluding

   African-Americans from the managerial ranks based upon race.




                                       Page 5 of 24
3:23-cv-00046-SAL-SVH           Date Filed 01/05/23      Entry Number 1        Page 6 of 24




22. Plaintiff asserts that Defendant Browning also became Plaintiff’s primary care physician

   after her hiring due to the Defendant’s policy as a medical facility of allowing employees

   to receive medical care at their jobs.

23. Plaintiff asserts that Defendants Browning, Dixon, and Roberts immediately began a

   practice questioning her abilities in Human Resources and began a practice of disagreeing,

   questioning, and undermining Plaintiff and decision-making behind her back stemming

   from the latter months of 2021 and escalating through 2022 until her termination.

24. After Defendant Browning’s hiring, she began a concerted effort with Defendant Roberts

   to mount an aggressive attack on Plaintiff’s character and work competence. Specifically,

   within the internal structure, both Defendants Browning and Roberts daily plotted

   Plaintiff’s demise.

25. Upon information and belief, Plaintiff was subjected to race discrimination by Defendant

   Browning and Defendant Roberts where Plaintiff faced racially discriminatory acts to

   include racial harassment, intimidation, and manipulation on a daily basis for several

   months prior to her termination.

26. Plaintiff asserts that she made multiple complaints, specifically during 2020, 2021, and

   2022, about the racial mistreatment she faced from Defendants Browning and Roberts to

   Defendant Dixon to no avail. In fact, Dixon solicited the help of Browning and Roberts in

   undermining Plaintiff’s standing among agency employees.

27. In addition, Plaintiff asserts that Defendant Dixon, instead of investigating or resolving the

   complaints, made a practice of informing other Department Heads, specifically Defendants

   Roberts and Browning, of Plaintiff’s complaints and concerns and instructing them to email




                                        Page 6 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1        Page 7 of 24




   Plaintiff about her concerns or work-related matters. Plaintiff asserts that this practice

   began in late 2021 but intensified in the beginning of 2022.

28. Dixon encouraged the overriding of Plaintiff’s duties and handling of personnel matters

   outside of the Human Resources Department. Defendant SMF’s Caucasian directors or

   similarly-situated Caucasian coworkers were treated with more respect and favorable

   actions than Plaintiff.

29. Upon information and belief, Defendants Roberts and Browning began a practice of

   encouraging their department’s employees to contact them for Human Resources questions

   or personnel matters instead of following the proper route to Plaintiff. Plaintiff asserts that

   this action intended to cause, and resulted in, distrust, lack of faith, and confusion of

   Plaintiff’s role and responsibilities with other employees of Defendant SMF.

30. Upon information and belief, Defendants Roberts and Browning began a practice of

   gathering personnel complaints and needs from their department’s employees, informing

   their employees that they would inform Plaintiff (the Human Resources Department

   Director) of any concerns, but failed to do so.

31. Further, Plaintiff asserts that Defendants Roberts and Browning would purposely not

   inform Plaintiff of any personnel matters, allow the employee to become disgruntled when

   their issues were not addressed, and place blame on Plaintiff, who was never informed.

   Defendant SMF’s Caucasian directors and other similarly-situated Caucasian coworkers

   were not subjected to the same level of hostility and undermining which Plaintiff

   experienced.

32. Upon information and belief, Defendants Dixon, Roberts, and Browning began a practice

   of carbon-copying and blind carbon-copying email communications with Plaintiff amongst




                                       Page 7 of 24
3:23-cv-00046-SAL-SVH           Date Filed 01/05/23      Entry Number 1        Page 8 of 24




   themselves in which these Defendants would misconstrue, restate erroneously, and/or

   confuse oral conversations they had with Plaintiff to Plaintiff and/or others in the email to

   create a record.

33. Upon information and belief, Defendants Dixon, Roberts, and Browning began a practice

   of informing Defendant SMF Board members of Plaintiff’s communications, complaints

   against Plaintiff orchestrated by those defendants, and unsubstantiated opinions of

   Plaintiff’s inability to do her job, which were not only false but were also manufactured for

   the purpose of causing board members to oppose Plaintiff due solely to Plaintiff’s race.

34. Plaintiff asserts that none of the other Caucasian Department Directors were treated in the

   same manner as Plaintiff, and were able to conduct their responsibilities without hostility,

   oversight, and questioning. Despite the racial hostility, discrimination, and harassment,

   Plaintiff continued to work diligently, fairly, and properly to the best of her ability.

35. Upon information and belief, as Human Resources Director and Defendant’s sole human

   resources personnel for three years, Plaintiff was tasked with accepting, investigating, and

   resolving personnel complaints from employees. All indications and reviews were

   previously positive on Plaintiff.

36. On or around October 2021, several months prior to Plaintiff’s termination, an employee

   of Defendant SMF called Plaintiff with a complaint against Defendant Browning, stating

   that Defendant Browning did not like brown people.

37. Plaintiff filed a report of the alleged complaint and started an internal investigation of the

   complaint against Defendant Browning. Based on her previous experiences with

   Browning, in an effort to remain objective, Defendant Dixon and Defendant SMF’s counsel

   suggested Jimmy Ellis (African-American Male) to assist with the investigation. They each




                                        Page 8 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23     Entry Number 1        Page 9 of 24




   were tasked with going to different SMF locations to speak with employees. Defendant’s

   counsel encouraged Plaintiff to notify Defendant Browning of the investigation; however,

   Defendant Dixon instruction told Plaintiff not to notify Defendant, despite Plaintiff

   protesting and notifying Defendant Dixon of the proper HR means to handle the situation.

38. Upon information and belief, the investigation revealed several complaints about

   Defendant Browning and Defendant Dixon, and not Plaintiff. At the close of the

   investigation, Plaintiff provided a report with recommendations to Defendant Dixon and

   Defendant SMF’s legal counsel.

39. Following the report and recommendation of Plaintiff, Plaintiff was informed to her shock,

   that another investigation had been orchestrated by Dixon into Plaintiff’s work in the

   agency, Plaintiff immediately concluded this was retaliation for Plaintiff’s investigative

   actions on Defendant Browning and Defendant Dixon.

40. In an effort to cloak a pretextual reason to get rid of Plaintiff, the Defendants hired an

   outside company, E-Source, to investigate using Defendant Trey Boone (Caucasian Male)

   to conduct interviews and an anonymous survey. Plaintiff realized, at this point, that she

   was the target of a conspired effort by Defendants Dixon, Browning, Roberts, and Boone

   to cause her termination.

41. In an effort to do her job, Plaintiff provided Defendant Boone with the names of employees

   to interview from various locations who had expressed concerns regarding Dixon,

   Browning, and Roberts’ leadership abilities and hostile interactions with staff to Defendant

   Boone. Defendant Boone then conducted some third-party investigations, but only spoke

   to some of Plaintiff’s referenced employees (African-American).




                                      Page 9 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23       Entry Number 1       Page 10 of 24




42. Plaintiff received calls from agency employees stating that Defendants Roberts and

   Browning made discrete trips to Defendant SMF’s locations ahead of Defendant Boone,

   intimidating and encouraging employees with narratives for the third-party investigation

   to attack Plaintiff.

43. Upon information and belief, Defendant SMF launched an anonymous survey that would

   be distributed to employees. As a result of Defendant Boone’s investigation, the results of

   the survey sparked a Listening Project. Defendant Dixon assigned Defendant Roberts and

   Mr. Ellis to the Project, excluding the Human Resources Department and Plaintiff for the

   sole purpose of getting rid of Plaintiff through an orchestrated conspiracy amongst

   themselves to cloak their own poor leadership skills.

44. Before the Listening Project, on or around March 2022, Plaintiff began receiving requests

   and contact from members of Defendant SMF’s Board, in which she was informed that

   there were complaints about the Human Resources Department. Plaintiff was asked to

   attend a board meeting to address these concerns.

45. Plaintiff attended an Executive Session called by the Board where she was asked about

   Defendant Dixon and his handling of several incidents related to African-American

   directors who were no longer employed with Defendant SMF. The Board questioned

   Plaintiff as to why the African-American executives had left. Plaintiff told the truth only

   to be ostracized by Caucasian members of the Board.

46. Plaintiff contends Defendant Dixon also made a practice of utilizing Plaintiff’s role to

   create turmoil amongst the other directors, to include Plaintiff. Specifically, when Plaintiff

   confided in Defendant Dixon in early March 2022 about Defendant Browning’s medical




                                      Page 10 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23         Entry Number 1    Page 11 of 24




   practice inconsistencies regarding employees as a matter of concern, to include herself,

   Dixon, again, took no immediate action.

47. With respect to this medical practice inconsistency notification to Dixon by Plaintiff,

   Defendant Dixon informed Plaintiff that he would handle it on his own time. Plaintiff

   would discover that Dixon would use this information several months later, in June 2022.

48. On or around April 27, 2022, also before the launch of the Listening Project but after

   Plaintiff’s meeting with the Board, Defendant Dixon called an impromptu meeting to

   address, what he deemed to be, conflict between Defendant Browning and Plaintiff.

49. Upon information and belief, Plaintiff only expressed concerns about her treatment from

   Defendant Browning with Defendant Dixon as protected complaints. In addition to

   Plaintiff and Defendant Browning, to Plaintiff’s shock and dismay, Defendant Dixon

   invited Defendant Boone, Defendant Roberts, and Jimmy Ellis to the meeting for the sole

   purpose of setting up the Plaintiff.

50. Plaintiff asserts that, during this meeting, Defendant Browning made statements regarding

   Plaintiff and Plaintiff’s son’s health and treatment that she was privy to only as Defendant

   Browning’s patient.

51. Around the time of the April 27, 2022 meeting, Defendant Dixon notified all staff that the

   Human Resources department was not involved in the Listening Project, which signaled

   an attack by Dixon and others upon Plaintiff’s integrity. Mr. Ellis and Defendant Roberts

   conducted the Listening Project interviews with employees as well as Defendant Boone.

   In short, the very people who were committing the poor management practices towards

   employees were conducting their own investigation.




                                          Page 11 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23      Entry Number 1        Page 12 of 24




52. In or around May 2022, Defendant Dixon contacted Plaintiff and suggested that she leave

   her position as Director of Human Resources following a Board Meeting. Defendant Dixon

   did not provide Plaintiff with a reason. At that time, Plaintiff had resumed her dual role in

   the HR and Outreach Departments.

53. On or around early June 2022, Plaintiff learned that Defendant Browning had been in

   contact with Defendant SMF Board members and alleged false claims of harassment to

   Defendant SMF Board against Plaintiff. Defendant Browning, in her contact with certain

   Board Members, cited collusion between Defendant Dixon and herself to the Board.

   Plaintiff asserts nothing could be further from the truth as she regarded both Dixon and

   Browning as hostile entities against her best interests. These meetings between Defendant

   Browning and the Board occurred before Defendant Browning's termination.

54. In an effort to protect himself for condoning the hostile work environment created by

   Defendant Dixon and Browning, Dixon, as promised, later uses a medical inconsistency

   involving Plaintiff receiving conflicting covid-19 test results evaluated by Defendant

   Browning, as Chief Medical Officer, to eventually terminate Browning’s employment in

   June 2022 as the facts led him reluctantly to no other conclusion but to terminate Browning.

55. Defendant SMF Board learned of Defendant Browning’s termination on or around the June

   22, 2022 at a Board meeting. Certain Caucasian members of the Board were furious and

   concluded that Plaintiff and Dixon had caused Browning’s termination.

56. Defendant Dixon, in fear that he was about to lose his job due to the Board’s reaction to

   Browning’s termination, Dixon tried to make Plaintiff the fall person and contacted

   Plaintiff and suggested that Plaintiff leave the Human Resources Director position to




                                      Page 12 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23     Entry Number 1      Page 13 of 24




   appease the Board’s anger over Browning’s termination. Plaintiff objected which Dixon

   was not pleased.

57. On or around July 14, 2022, Defendant Dixon verbally informed Plaintiff that he was

   terminated by Defendant SMF Board via a text message from Defendant Roberts.

58. On or around July 15, 2022, Plaintiff was suspended and eventually terminated from her

   position.

59. Plaintiff believes her termination was a concerted effort by named Defendants Browning,

   Roberts, Boone, and certain Caucasian members of Defendant’s Board due to her advocacy

   opposing the racially hostile work environment she tried to correct as HR Director and her

   highlighting the medical unethical practices of Browning to the Board, which caused

   immediate retaliation against Plaintiff.

60. Upon information and belief, following Plaintiff’s termination, Defendant SMF placed

   Defendant Roberts as Interim Chief Executive Officer.

61. Upon information and belief, following Plaintiff’s termination, Defendant SMF placed

   Defendant Boone in the Human Resources position as a contract employee.

62. Upon information and belief, following Plaintiff’s termination, Defendant SMF placed

   Defendant Browning back in her position as Chief Medical Officer.

63. Plaintiff, therefore, contends that she has suffered extreme humiliation, mental anguish,

   embarrassment, loss of income all due to her following agency policy, asserting as HR

   Director, her responsibilities to address the racially hostile environment to Defendant

   Dixon, who did nothing and singling out Defendants Roberts, Browning, Boone, the

   Caucasian members of the Board who opposed her advocating against race discrimination.




                                      Page 13 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1        Page 14 of 24




                                 FIRST CAUSE OF ACTION
Race Discrimination / Racially-Hostile Work Environment in Violation of 42 U.S.C. § 1981
 64. Plaintiff reiterates each and every allegation contained in the previous paragraphs as if set

    forth verbatim herein.

65. Plaintiff is a member of a protected class on the basis of her race (African American).

    Plaintiff was subjected to disparate treatment on the basis of her race due to Defendants

    and Defendants’ agents racially disparate treatment towards her in violation of 42 USC §

    1981.

66. Plaintiff alleges that this disparate treatment on the basis of her race while on the job was

    pretextual, as Defendants made promises to Plaintiff that Plaintiff would be protected from

    disparate treatment on the basis of her race. Plaintiff alleges that Defendants, through their

    agents, initiated discriminatory and hostile practices against Plaintiff which were reckless,

    wanton, and intentional race discrimination based on her race to include:

67. Defendants, by their agents, allowed Plaintiff to be discriminated against on the basis of

    her race to the exclusion of her similarly-situated Caucasian colleagues, who were not

    subject to the same scrutiny and undermining behavior as Plaintiff.

68. Defendants allowed CMO Sharon Browning and Christopher Dixon to discriminate against

    Plaintiff on the basis of her race by undermining Plaintiff’s authority to the exclusion of

    her similarly situated Caucasian colleagues. Browning’s actions were deliberate race-based

    discrimination orchestrated to ultimately terminate Plaintiff.

69. In failing to protect Plaintiff from racial discrimination, Defendants and their agents acted

    with malice and reckless indifference to the federally protected rights set out under 42 USC

    § 1981, the South Carolina Human Affairs Law, and the United States Equal Employment

    Opportunity Laws.




                                        Page 14 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1        Page 15 of 24




70. Plaintiff alleges the Defendants, through their agents, initiated discriminatory practices

   against Plaintiff based on her race.

71. As a result of Defendants’ race discrimination, Plaintiff has suffered damages in the form

   of actual, compensatory, consequential, physical, mental, emotional, and other damages.

   Plaintiff also believes that a reasonable amount of punitive damages should be levied

   against Defendants due to their unlawful treatment of Plaintiff.

                               SECOND CAUSE OF ACTION
                         Retaliation In Violation Of 42 U.S.C. § 1981
72. Plaintiff reiterates each and every allegation contained in the preceding paragraphs as if set

   forth verbatim herein.

73. Plaintiff is a member of a protected class on the basis of her race (African American).

   Plaintiff was subjected to retaliation on the basis of her race due to Defendants and

   Defendants’ agents racially disparate treatment and retaliation towards her in violation of

   42 U.S.C. § 1981.

74. Plaintiff was repeatedly subjected to and protested the violations of her federally protected

   rights within the Defendants’ administrative structure all to no avail as such complaints

   merely subjected Plaintiff to being mistreated in a retaliatory manner and to a continuance

   of unlawful racial harassment and retaliation as stated above.

75. Plaintiff repeatedly objected to and protested the violations of her federally protected rights

   within the Defendants’ administrative structure.

76. After Plaintiff sought to seek relief from Defendant's discriminatory practices, to include

   but not limited to consulting with upper management, Defendant Dixon, Defendants and

   Defendants’ agents to include Defendant Browning, Defendant Roberts, and Defendant




                                        Page 15 of 24
3:23-cv-00046-SAL-SVH           Date Filed 01/05/23     Entry Number 1        Page 16 of 24




   Dixon retaliated against her by a continuance of harassment, increased racially

   discriminatory mistreatment, and by not addressing her protected complaints.

77. After the Plaintiff informed Defendants of the racial discrimination and mistreatment that

   Plaintiff was exposed to (protected complaints), Defendants retaliated against Plaintiff by

   practicing a continuing pattern of animus, pretextual performance evaluations, and the

   pretextual termination of Plaintiff to include:

78. Prohibiting employees to utilize the Human Resources Department, ran by Plaintiff, by

   accepting the employee’s complaint and/or needs but failing to inform Plaintiff, for the

   purpose of harming Plaintiff and the relationship Plaintiff built with the staff.

79. Providing false narratives about Plaintiff to employees to create hostility and distrust in

   Plaintiff and Plaintiff’s department.

80. Pinning the Board of Directors against Plaintiff, leading to Plaintiff’s unlawful termination.

81. Creating questions of Plaintiff’s performance and competency amongst the staff and Board

   of Directors of Defendant SMF for the purpose of harassment, undermining, and garner

   support against Plaintiff.

82. Subjecting Plaintiff to public questioning of her skills, experience, performance, value,

   competency, and ability to work well with others.

83. Terminating Plaintiff because of her race, in retaliation for Plaintiff working in the

   parameters of expectations for a Human Resources Department, and as a result of the

   racially hostile and discriminatory acts of Defendant SMF and its agents.

84. Launching two pretextual investigations into personnel matters, and pretextually into

   Plaintiff’s employment, without involving Plaintiff or the Human Resources department in

   retaliation of Plaintiff’s abiding by her responsibilities and expectations as a Human




                                       Page 16 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23       Entry Number 1       Page 17 of 24




   Resources Director in accordance with Defendant SMF’s policies as well as local, state,

   and federal laws.

85. Due to the retaliatory acts of the Defendants, their agents and employees, Plaintiff is

   entitled to injunctive relief and/or civil damages, back wages, plus interest, payment for

   lost wages, and punitive damages.

86. Accordingly, Plaintiff is entitled to compensatory and punitive damages as a result thereof

   as Plaintiff has suffered damages in the form of actual, compensatory, consequential,

   physical, mental, emotional, and other damages. Plaintiff also believes that a reasonable

   amount of punitive damages should be levied against Defendants on account of its unlawful

   treatment of Plaintiff.

                               THIRD CAUSE OF ACTION
                                    Breach of Contract
87. Plaintiff reiterates each and every allegation in the previous paragraphs as if set forth

   verbatim herein.

88. Plaintiff and Defendant entered into a binding and valid contract whereby Defendant

   offered Plaintiff employment. Plaintiff accepted the offer of employment and agreed to

   fulfill the duties of her position in exchange for valuable consideration, her salary, as well

   as Defendant's guarantees that she would be protected from discrimination and other illegal

   acts.

89. Defendant maintains an employment handbook and its own policies and procedures,

   specifically policies prohibiting race discrimination and retaliation, as well as policies

   concerning investigations by Defendant.

90. At all times during the course of her employment, Plaintiff relied on the promises contained

   in Defendant's handbook, policies and procedures, and governing documents.




                                       Page 17 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23        Entry Number 1        Page 18 of 24




91. Defendant breached its employment contract with Plaintiff and its own policies and

   procedures by failing to protect Plaintiff from the actions of her Caucasian supervisors, to

   include retaliation on the basis of Plaintiff’s protected complaints.

                               FOURTH CAUSE OF ACTION
                          Breach of Contract with Fraudulent Intent
92. Plaintiff reiterates each and every allegation contained in the preceding paragraphs as if set

   forth verbatim herein.

93. Defendant, by and through its agents, has failed to fulfill its obligation under its own written

   policies, including the above-referenced anti-discrimination, anti-harassment, and other

   policies of Defendant, which together with their promissory and mandatory terms, form a

   contract with Plaintiff beyond the at-will employment relationship.

94. Defendant, by and through its agents, has breached the terms thereof by reason of an

   intentional design on its part to defraud Plaintiff.

95. In furtherance of such intentional design, Defendant, through its agents, intentionally and

   maliciously placed Plaintiff in a position of being subjected to extreme racial harassment

   and disparate treatment and conducted a pretextual investigation of Plaintiff in violation of

   Defendant’s policies, under the guise of complying with said policies and protecting

   Plaintiff from discrimination and harassment.

96. Defendant ensured Plaintiff that she would not be subjected to the racially disparate

   treatment, harassment, and other policy violations which Defendant continuously meted

   out to Plaintiff, and that her protected complaints under Defendant’s policies would be

   fully and fairly investigated.

97. It became readily apparent to Plaintiff that Defendant’s false reassurances were fraudulent

   as Defendants’ continual violations of their own policies demonstrated.




                                        Page 18 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23      Entry Number 1        Page 19 of 24




98. Defendant’s’ conduct, by and through its agents, was done in bad faith and breached the

   implied covenant of good faith and fair dealings that is implied in the employment contract.

99. As a result of Defendant’s race discrimination and exposure of Plaintiff to Defendant’s

   fraudulent breaches of contract, Plaintiff has suffered damages in the form of actual,

   compensatory, consequential, physical, mental, emotional, and other damages. Plaintiff

   also believes that a reasonable amount of punitive damages should be levied against

   Defendant on account of their unlawful treatment of Plaintiff and fraudulent contractual

   breaches.

                             FIFTH CAUSE OF ACTION
Civil Conspiracy as to Defendants Dixon, Boone, Browning, Roberts, and SMF Board of
                        Directors in their Individual Capacities
100. Each and every assertion set forth herein above is repeated as fully incorporated.

101. Defendant Dixon exceeded the scope of his employment by abusing his supervisory

   capacity to cause injury to the plaintiff.

102. Defendant Dixon enlisted the assistance of Defendant Browning and Defendant Roberts,

   also abusing their supervisory capacities, to establish a pattern of racially hostile

   harassment, retaliation, and treatment that led to the pretextual justification to terminate

   the plaintiff’s employment and supporting the conspiracy by:

       a. Eliciting reports of Plaintiff not completing her job when, in fact, Defendants failed

           to report information to Plaintiff, lied to their employees with HR needs about

           making reports to Plaintiff of HR needs, and told the subordinates that Plaintiff did

           not do her job.

       b. Contacting Defendants Board of Directors to create and support narratives against

           Plaintiff to influence the Board to pretextually terminate Plaintiff.




                                       Page 19 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23       Entry Number 1         Page 20 of 24




       c. Discussing Plaintiff’s complaints and concerns about the racially hostile and

          discriminatory treatment in which Defendant Dixon would inform Defendants

          Browning and Roberts of Plaintiff’s complaints for Browning and Roberts to email

          Plaintiff to address her protected complaints and/or purposely misstate

          communications they had with Plaintiff.

       d. Manufacturing narratives about Plaintiff’s competency, ability, and work ethic

          among Defendant SMF staff for the sole purpose of sewing opposition and distrust

          of Plaintiff to lead to Plaintiff’s termination.

       e. Positioning employees against Plaintiff by failing to notify Plaintiff of Human

          Resources needs only to then blame Plaintiff for not completing these needs as a

          means to gather support for any complaints against Plaintiff, tarnish Plaintiff’s

          reputation, and to set up Plaintiff’s pretextual termination.

       f. Launching an investigation as a retaliatory measure in response to Plaintiff’s proper

          investigation of complaints she received in her official capacity.

       g. Influencing the answers and opinions by discretely visiting Defendant SMF sites

          and speaking to staff ahead of the pretextual independent investigation and listening

          project as an attempt to support animosity against Plaintiff and lead to Plaintiff’s

          pretextual termination.

103. Defendant Dixon enlisted the assistance of Defendant Boone, Defendant Browning, and

   Defendant Roberts to carry out a pretextual secondary investigation and subsequent

   listening project as a means to undermine Plaintiff, cast doubt on Plaintiff’s internal

   investigation, and launch a scheme to garner opposition of Plaintiff.




                                       Page 20 of 24
3:23-cv-00046-SAL-SVH         Date Filed 01/05/23       Entry Number 1        Page 21 of 24




104. Defendant Dixon enlisted the assistance of Defendant Boone, Defendant Browning, and

   Defendant Roberts to intimidate and further the hostility against Plaintiff by inviting

   Plaintiff to a meeting with the sole purpose of attacking Plaintiff’s character under the guise

   of inquiring of alleged conflicts between Plaintiff and Defendant Browning.

105. Defendant Browning enlisted the assistance of Defendant SMF Board of Directors by

   unlawfully communicating with certain Board members about Plaintiff, to include meeting

   to discuss Defendant Browning false accusations against Plaintiff.

106. Defendant Browning enlisted the assistance of Defendant SMF Board of Directors to

   pretextually terminate Plaintiff.

107. The Plaintiff has been targeted by deliberate design of Defendant and Defendant’s agents

   in a conspiracy to ensure the termination of her employment and deprivation of her

   contractual rights to due process with willful disregard to her contractual rights.

108. The natural consequence of Defendant Dixon, Defendant Browning, and Defendant

   Roberts’ combined actions caused special damages to the plaintiff apart from any other

   damages pleaded herein. Specifically, the acts in furtherance of this conspiracy as alleged

   have and will continue to cause plaintiff special damages for pecuniary losses,

   embarrassment, humiliation, pain and suffering, mental anguish, loss of enjoyment of life,

   and further non-pecuniary losses.

109. Accordingly, due to the acts of the defendant and its agents, plaintiff is entitled to

   injunctive relief and civil damages from Defendants.

110. Furthermore, Plaintiff is entitled to injunctive relief and/or civil damages, renumeration

   for lost wages and benefits, reinstatement of benefits, and front pay.




                                       Page 21 of 24
3:23-cv-00046-SAL-SVH               Date Filed 01/05/23    Entry Number 1    Page 22 of 24




111. The acts of the Defendant were designed to cause injury to the employment relationship

    that existed between Plaintiff and Defendant for the purpose of terminating Plaintiff’s

    employment and causing harm to Plaintiff’s reputation in the community.

                              SIXTH CAUSE OF ACTION
Invasion of Privacy / Personnel Policy Violation as to Defendant Dixon, Defendant Boone,
                                    Defendant Browning
 112. Each and every assertion set forth herein above is repeated as fully incorporated.

113. Plaintiff had a reasonable expectation of privacy in her medical records unless she waived

    the protections in writing.

114. That Defendant Browning’s action was a blatant and shocking disregard to Plaintiff’s

    rights.

115. Defendant Browning exceeded the scope of her employment and doctor-patient

    relationship with Plaintiff by abusing her supervisory capacity to cause injury to Plaintiff

    when disclosing information about Plaintiff and Plaintiff’s minor child in a staff meeting.

    This injury was both foreseeable and preventable had Defendants adequately supervised

    Defendant Browning.

116. Plaintiff had a reasonable expectation of privacy in her employment that personnel

    matters would not be disclosed to persons not employed by Defendant SMF.

117. Defendants Dixon, Browning, and Roberts violated Plaintiff’s expectation of privacy by

    inviting and including a non-employee, Defendant Boone, to a staff meeting to discuss

    private, protected matters related to Plaintiff’s employment.

118. That Defendants wrongful intrusion and publishing of Plaintiff’s private affairs was made

    to outrage Plaintiff and cause Plaintiff mental suffering, shame, humiliation, and offense

    to Plaintiff’s sensibilities.




                                           Page 22 of 24
3:23-cv-00046-SAL-SVH          Date Filed 01/05/23       Entry Number 1        Page 23 of 24




119. That the disclosure was highly offensive and likely to cause serious mental injury to a

   person of ordinary sensibilities.

120. Upon information and belief, Plaintiff is entitled to actual, compensatory, special, and

   punitive damages as a result thereof as Plaintiff has suffered damages in the form of actual,

   compensatory, consequential, physical, mental, emotional, and other damage for such other

   relief as may be allowed by law.

                                  PRAYER FOR RELIEF

121. Plaintiff reiterates each and every allegation contained in the preceding paragraphs as if set

   forth verbatim herein.

122. Plaintiff hereby demands a trial by jury.

123. WHEREFORE, Plaintiff prays that this Honorable Court declares that Defendants’ actions

   complained of herein violated the rights guaranteed to Plaintiff and issue its judgment:

   a. Declaring the actions complained of herein illegal;

   b. Issuing an injunction enjoining the Defendants, their agents, employees,successors,

       attorneys and those acting in concert or participation with the Defendants, and at their

       direction from engaging in the unlawful practices set forthherein or any other practices

       shown to violate South Carolina Law;

   c. Awarding Plaintiff actual and compensatory damages against Defendants for the

       Causes of Action as contained herein, which the jury should find appropriate as a

       result of the Defendants’ unlawful actions, including mental anguish, physical and

       emotional pain and suffering, harm to Plaintiff’s’ economic opportunities, medical

       costs and expenses. as well as back pay, front pay, travel hardships and expenses, and

       lost future earnings with cost-of-living adjustments, prejudgment interest, fringe



                                        Page 23 of 24
  3:23-cv-00046-SAL-SVH          Date Filed 01/05/23      Entry Number 1       Page 24 of 24




          benefits and retirement benefits;

       d. Awarding Plaintiff her costs and expenses in this action, including reasonable attorney

          fees, and other litigation expenses; and

       e. Granting such other and further relief as may be just and necessary to afford complete

          relief to the Plaintiff as this Court may deem just and proper.

                   [SIGNATURE BLOCK ON THE FOLLOWING PAGE]



                                     Respectfully Submitted,

                                         s/Donald Gist

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January 3, 2023




                                         Page 24 of 24
